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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA

JOSEPH ELWELL, CRYSTAL                     )
ELWELL, DEBORAH BALDWIN,                   )
Individually and as custodian for her      )
Minor children WM and AM,                  )
ROBERT BALDWIN,                            )
                                           )      Case No. 2:16-CV-158
               Plaintiffs,                 )
                                           )     Hon. James T. Moody, Judge
       v.                                  )     Mag. Judge Andrew Rodovich
                                           )
FIRST BAPTIST CHURCH OF                    )
HAMMOND, INC.,                             )
                                           )
               Defendant.                  )

                  DEFENDANT’S MOTION TO QUASH
       THE DOCUMENT SUBPOENA ISSUED TO ATTORNEY DAVID GIBBS

       NOW COMES the Defendant, FIRST BAPTIST CHURCH OF HAMMOND, INC., by

and through its attorneys, HeplerBroom, LLC, and hereby moves this Honorable Court, pursuant

to Fed. R. Civ. P. 45(d)(3)(A)(iii), for an order quashing the Fed. R. Civ. P. 45 document

subpoena issued to attorney David Gibbs. Defendant submits a Memorandum of Law, filed

contemporaneously herewith and which is incorporated by reference herein.

                                                 Respectfully submitted,

                                                 HeplerBroom, LLC

                                                 /s/ Rick Hammond__________________
                                                 Rick Hammond
                                                 David Albaugh
                                                 Bridget Liccardi
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2016, I electronically filed the foregoing,
Defendant’s Motion to Quash the Plaintiffs’ Subpoena to Attorney David Gibbs, with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing(s) to the
following attorneys of record.

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                                                 /s/ Rick Hammond




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